                 Case 2:17-cv-01731-TSZ Document 192 Filed 03/04/20 Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                           March 04, 2020


       No.:             20-35196
       D.C. No.:        2:17-cv-01731-TSZ
       Short Title:     Strike 3 Holdings LLC v. John Doe


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case 2:17-cv-01731-TSZ Document 192 Filed 03/04/20 Page 2 of 3




                  UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                  MAR 04 2020
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




 STRIKE 3 HOLDINGS LLC,                       No. 20-35196
 a Delaware corporation,
                                              D.C. No. 2:17-cv-01731-TSZ
              Plaintiff - Appellant,
                                              U.S. District Court for Western
   v.                                         Washington, Seattle

 JOHN DOE, subscriber assigned IP             TIME SCHEDULE ORDER
 address 73.225.38.130,

              Defendant - Appellee,

 and

 TOBIAS FIESER, Third-Party Witness;
 IPP INTERNATIONAL UG, Third-
 Party Witness; BUNTING DIGITAL
 FORENSICS, LLC, Third-Party
 Witness; STEPHEN M. BUNTING,
 Third-Party Defendant; GUARDALEY,
 LTD., Material Witness,

              Real-party-in-interest.



The parties shall meet the following time schedule.

Wed., March 11, 2020          Appellant's Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
       Case 2:17-cv-01731-TSZ Document 192 Filed 03/04/20 Page 3 of 3

Mon., May 4, 2020           Appellant's opening brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.
Thu., June 4, 2020          Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: Ruben Talavera
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
